                                         UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF ARIZONA

                                              Audio Record of Hearing Held
Hearing Information:
                       Debtor:    SKYLER AARON COOK
                 Case Number:     2:20-BK-01730-EPB                      Chapter: 7

          Date / Time / Room:     THURSDAY, AUGUST 17, 2023 10:00 AM 7TH FLOOR #703


              Courtroom Clerk:
                Reporter / ECR:   STACI FAGAN                                                                                  0.00


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Matter:

              ADV: 2-21-00336
              JAMES E CROSS, TRUSTEE vs KATHERINE S. BRUHN & VALLIANCE BANK & SHELBY BRUHN
              DISCOVERY CONFERENCE ON MOTION TO QUASH DEFENDANTS' SUBPOENA AND SUBPOENA DUCES
              TECUM TO DEBTOR
              R / M #: 132 / 0


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